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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 15-2507-JLK

KYLE JEFFERY SCHWARK,

       Plaintiff,
v.

SHERIFF FRED WEGENER, in his official and individual capacities;
NURSE SUSAN CANTERBURY, in her individual capacity;
NURSE JERI SWANN, in her individual capacity;
NURSE CATHLENE PEARCE, in her individual capacity;
DOCTOR KATHERINE FITTING, in her individual capacity,

      Defendants.
___________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       The “Unopposed Motion to Withdraw Julian G.G. Wolfson as Counsel of Record” is

GRANTED. Julian G.G. Wolfson is hereby withdrawn as counsel of record for Plaintiff Kyle

Jeffrey Schwark and removed from the certificate of service in this case.

       DATED this                     day of                 2016.

                                                     BY THE COURT:
